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  1
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  6
      Attorneys for Defendant, Kent Easter
  7

  8
                                UNITED STATES BANKRUPTCY COURT
  9
                                CENTRAL DISTRICT OF CALIFORNIA
 10
                                          SANTA ANA DIVISION
 11
      In re                                        Case No.: 8:16-bk-10223-ES
 12
      KENT W. EASTER,                              Chapter 7 Proceeding
 13
                           Debtor                  Adv. Case No. 8:16-ap-01114-ES
 14

 15                                                DEFENDANT’S (1) RESPONSE TO
                                                   PLAINTIFFS’ SEPARATE STATEMENT
 16                                                OF UNDISPUTED FACTS, AND (2)
      KELLI C. PETERS, BILL PETERS, and
      SYDNIE PETERS,                               SEPARATE STATEMENT OF DISPUTED
 17                                                FACTS
                            Plaintiffs,
 18
                           v.                      Hearing:
 19                                                Date:        November 10, 2016
      KENT W. EASTER,                              Time:        10:30 a.m.
 20                                                Ctrm:        5A
                          Defendant.
 21

 22

 23

 24

 25

 26

 27

 28

        DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                          AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1          Defendant Kent W. Easter an individual (“Easter”, “Debtor” and/or “Defendant”) hereby
  2   submits this Response to Plaintiffs’ Statement of Undisputed Facts in support of his Opposition
  3
      to Plaintiffs’ Motion for Summary Judgment (2) Separate Statement of Disputed Facts (“SSF”).
  4
             Any terms not otherwise defined herein have the same meanings as they do in the
  5
      Opposition.
  6

  7                            STATEMENT OF CONTROVERTED FACTS
  8

  9   Plaintiffs’ Alleged               Supporting Evidence             Genuine Issues/ Defendants’

 10   Undisputed Facts                                                  Response and Supporting
 11                                                                     Evidence
 12
         1. On or about February        Declaration of Robert H.        Disputed that Kent Easter
 13
             16, 2011, Kent Easter      Marcereau                       intended to cause injury to Bill
 14
             and Jill Easter            Exhibit 3                       or Sydney Peters and disputed
 15

 16          conspired to and did       Exhibit 4                       to the extent this contention

 17          plant Vicodin,             Exhibit 5                       cites and relies upon
 18          Percocet, Marijuana,                                       inadmissible hearsay.
 19
             and a used Marijuana
 20
             pipe in the back seat of
 21
             Mrs. Peters’ car.
 22

 23      2. After the drugs were        Id.                             Disputed that Kent Easter

 24          planted in Mrs. Peters’                                    intended to cause injury to Bill

 25          car, Kent Easter then                                      or Sydney Peters. Further
 26          called the Irvine                                          disputed as this contention is
 27

 28
                                                    -1-

        DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                          AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1        police, falsely telling                              based upon inadmissible
  2        the police that he was a                             hearsay.
  3
           “concerned parent”
  4
           who had witnessed
  5
           Mrs. Peters driving
  6

  7        erratically in the

  8        parking lot of the

  9        elementary school
 10
           where Mrs. Peters
 11
           worked as a volunteer.
 12
           Mr. Easter falsely told
 13
           the police that he had
 14

 15        witnessed Mrs. Peters

 16        (a) driving erratically;
 17        (b) using drugs; (c)
 18
           placing a large
 19
           quantity of illegal
 20
           drugs in the backseat
 21

 22        of her car; and (d)

 23        entering the school

 24        where numerous
 25        children were present.
 26
           In an attempt to cover
 27

 28
                                               -- 2 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                         AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1        his tracks, Mr. Easter
  2        gave the police a
  3
           phony name, telephone
  4
           number and address
  5
           and spoke with a
  6

  7        phony Indian accent.

  8     3. The Irvine Police acted Marcereau Dec. ¶¶7, 8            Disputed to the extent this

  9        on Mr. Easter’s false     Exhibit 3                      contention misstates Exhibit 3
 10
           report and went to the    Exhibit 5 Trial Testimony of   and is based upon
 11
           school to investigate.    Officer Shaver                 inadmissible trial testimony
 12
           When Irvine police                                       that is hearsay and not subject
 13
           officers arrived at the                                  to any exception.
 14

 15        school, the found Mrs.

 16        Peters’ car in the
 17        parking lot, looked
 18
           through the window,
 19
           and saw the bag of
 20
           drugs behind the
 21

 22        driver’s seat, just as

 23        Mr. Easter had

 24        described in his phony
 25        police report.
 26
        4. The police officers       Marcereau Dec. ¶ 7-8           Disputed to the extent this
 27

 28
                                                 -- 3 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                         AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1        then entered the          Exhibit 3                      contention misstates Exhibit 3
  2        school, tracked down      Exhibit 5 Trial Testimony of   and is based upon
  3
           Mr. Peters, and, in       Officer Shaver                 inadmissible trial testimony
  4
           front of children,                                       that is hearsay and not subject
  5
           parents, school                                          to any exception. It is further
  6

  7        administrators,                                          disputed that Mrs. Peters was

  8        volunteers and Mrs.                                      tracked down and taken into

  9        Peters’ ten year old                                     custody and escorted out of
 10
           child, took Mrs. Peters                                  the building, let alone that it
 11
           into custody and                                         was done in front of her ten
 12
           escorted her out of the                                  year old child.
 13
           building                                                 Debtor had no knowledge or
 14

 15                                                                 awareness that Mrs. Peters’

 16                                                                 ten year old daughter was
 17                                                                 present.
 18
        5. The police searched       Exhibit 5 Trial Testimony of   Disputed as this contention is
 19
           Mrs. Peters’ car, pulled Charles Shaver                  entirely based upon
 20
           out the drugs, and laid                                  inadmissible trial testimony
 21

 22        them on the hood of a                                    that is hearsay and not subject

 23        nearby police car.                                       to any exception.

 24        Mrs. Peters was then                                     Disputed that she was forced
 25        forced to sit on the                                     to sit on the curb “like a
 26
           curb in the school                                       criminal” or that she was
 27

 28
                                                 -- 4 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                         AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1        parking lot, like a                                        detained at the school for over
  2        criminal, next to the                                      two hours.
  3
           array of drugs and
  4
           paraphernalia, for all to
  5
           see. Mrs. Peters was
  6

  7        detained at the school

  8        for over two hours

  9        while the police
 10
           conducted their
 11
           investigation.
 12
           Distraught and afraid,
 13
           Mrs. Peters was crying
 14

 15        and shaking

 16        uncontrollably.
 17     6. Mrs. Peters’ husband,       Marcereau Decl. at ¶10         Disputed that the Police
 18
           Bill, was summoned          Exhibit 4 Trial testimony of   summoned Bill Peters. The
 19
           by Police to the school     Kelli Peters                   school contacted him.
 20
           and was present during                                     Denied that Easter had any
 21

 22        the investigation.                                         knowledge or awareness that

 23                                                                   Mr. Peters was present or

 24                                                                   summoned to the school.
 25                                                                   Disputed to the extent this
 26
                                                                      contention is based upon
 27

 28
                                                      -- 5 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                         AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1                                                                inadmissible trial testimony
  2                                                                that is hearsay and not subject
  3
                                                                   to any exception.
  4
        7. The police then          Marcereau ¶10                  Disputed as this contention is
  5
           escorted Mrs. Peters     Exhibit 4 Trial Testimony of   entirely based upon
  6

  7        and her family back to   Kelli Peters                   inadmissible trial testimony

  8        their home where they                                   that is hearsay and not subject

  9        conducted a search of                                   to any exception. Disputed
 10
           the premises. While                                     that Easter had any knowledge
 11
           Mrs. Peters, her                                        or awareness that Mr. Peters
 12
           husband and their                                       or Sydnie Peters were present.
 13
           younger daughter
 14

 15        Sydnie watched in

 16        nervous shock, the
 17        police searched their
 18
           home, including
 19
           bedrooms, bathrooms,
 20
           the garage and the
 21

 22        patio. CSI later

 23        showed up at the

 24        Peters’ home and took
 25        DNA samples of Mrs.
 26
           Peters, Mr. Peters and
 27

 28
                                                   -- 6 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                         AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1        their child with
  2        intrusive cheek swabs.
  3
           The Peters family were
  4
           afraid and humilitated.
  5
        8. For several months, the Marcereau ¶10                  Disputed as this contention is
  6

  7        Peters remained fearful Exhibit 4 Trial Testimony of   entirely based upon

  8        that someone was out      Kelli Peters                 inadmissible trial testimony

  9        to hurt or kill them,                                  that is hearsay and not subject
 10
           and that Mrs. Peters                                   to any exception.
 11
           might still be arrested                                Disputed that Mrs. Peters
 12
           and convicted of                                       remained fearful for several
 13

 14        crimes she did not                                     months that she might still be

 15        commit. Mrs. Peters                                    arrested and convicted

 16        was so upset that her                                  because the police did not
 17        hair began to fall out.                                treat her like a suspect,
 18
           Bill Peters became so                                  provided her escorts to school
 19
           distraught that he                                     and told her within a month
 20
           began to suffer panic                                  that they had a suspect for
 21

 22        attacks. Sydnie Peter                                  framing her.

 23        was humiliated,                                        Disputed that Easter intended

 24        became withdrawn,                                      to cause Kelli Peters months
 25        and shunned by her                                     of fear. Disputed that Easter
 26
           classmates at school.                                  intended to cause any injury or
 27

 28
                                                    -- 7 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
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  1        Things became so bad                                 distress to Bill Peters or
  2        Sydnie ended up                                      Sydnie Peters.
  3
           changing schools.
  4
        9. On or about June 16,       Marcereau Decl. ¶9        Undisputed
  5
           2012,the Irvine police
  6

  7        arrested Kent and Jill

  8        Easter

  9     10. On October 30, 2013,      Exhibit 3                 Undisputed that Jill Easter
 10
           Jill Easter pleaded                                  pled guilty to Penal Code
 11
           guilty to felony false                               §236/237a. Disputed to the
 12
           imprisonment through                                 extent that this contention
 13

 14        fraud and deceit                                     misstates Exhibit 3 and claims

 15        pursuant to Penal Code                               that Jill Easter pled guilty to

 16        §236/237a for the drug                               participating in a scheme and
 17        planting scheme                                      conspiracy counts against her
 18
           against Kelli Peters.                                were voluntarily dismissed by
 19
                                                                the People.
 20
        11. Kent Easter was a         Marcereau Dec. ¶7         Undisputed that Easter was a
 21

 22        defendant (sic) the        Exhibit 3                 defendant in a criminal trial

 23        criminal trial regarding   Trial Testimony of Kent   for violating Penal Code

 24        the drug planting          Easter Ex 5               §236/237a and that Easter
 25
           scheme. He hired                                     hired counsel and attended the
 26
           counsel to represent                                 trial.
 27

 28
                                                    -- 8 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
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  1        him in the trial, and                              Disputed that Easter was tried
  2        attended the trial.                                for a scheme or conspiracy.
  3
        12. On September 12,          Id                      Undisputed that Easter was
  4
           2014, Kent Easter was                              convicted after a criminal trial
  5
           found guilty of felony                             for violating Penal Code
  6

  7        false imprisonment                                 §236/237a and that 237

  8        through fraud and                                  provides for the sentencing of
  9        deceit (Penal Code                                 false imprisonment as a felony
 10
           §236/237a) in Orange                               if its effected by violence,
 11
           County Superior Court                              menace, fraud, or
 12
           Case No. 12ZF0153,                                 deceit.
 13

 14        for the drug planting                              Disputed that Easter was tried

 15        scheme against Kelli                               for a scheme or conspiracy.

 16        Peters.
 17     13. Plaintiffs sued Kent      Marcereau Dec. ¶ 2      Undisputed only because the
 18
           Easter and Jill Easter                             complaint speaks for itself and
 19
           on August 3, 2012 in                               that it included causes of
 20
           the Superior Court for                             action for negligent infliction
 21

 22        the State of California,                           of emotional distress.

 23        County of Orange,

 24        case No. 30-2012-
 25
           00588580-CU-PO-CJC
 26
           (the “State Court
 27

 28
                                                 -- 9 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                         AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1         Action”) alleging
  2         cause of action for
  3
            false imprisonment and
  4
            intentional infliction of
  5
            emotional distress
  6

  7         regarding the Easter’s

  8         plot to frame Kelli

  9         Peters. Plaintiffs
 10
            sought both
 11
            compensatory and
 12
            punitive damages.
 13
        14. In light of their           Marcereau Decl. ¶ 8; Exhibit 3 Disputed. There were
 14

 15         criminal convictions                                      multiple other factors that led

 16         and the overwhelming                                      to the Debtor entering into the
 17         evidence against them,                                    stipulation in Plaintiffs’
 18
            on January 26, 2016                                       Exhibit 3. Further disputed
 19
            Kent Easter and Jill                                      because this fact misstates the
 20
            Easter stipulated that                                    contents of the stipulation it
 21

 22         they intentionally and                                    purports to summarize,

 23         willfully tried to frame                                  including that Debtor disputes

 24         Kelli Peters for drug                                     that he stipulated to willfully
 25         possession and made a                                     or intentionally injuring Bill
 26
            false report to police,                                   and Sydnie Peters. Debtor
 27

 28
                                                  -- 10 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                         AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
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  1        and stipulated to                                   does not dispute that he
  2        liability for the torts of                          disputed the amount of
  3
           False Imprisonment                                  damages to be awarded to
  4
           and Intentional                                     Plaintiffs in the State Court
  5
           Infliction of Emotional                             Action.
  6

  7        Distress as to Kelli

  8        Peters, Bill Peters, and

  9        Sydnie Peters. The
 10
           Easters, however,
 11
           disputed the amount of
 12
           damages to be
 13
           awarded.
 14

 15     15. The Parties jury trial      Marcereau Decl. ¶3     Undisputed.

 16        commenced on
 17        February 1, 2016 an
 18
           concluded on February
 19
           5, 2016. Easter
 20
           actively participated in
 21

 22        all stages of discovery

 23        and trial in the State

 24        Court Action. Easter
 25        had an opportunity to,
 26
           and did testify and
 27

 28
                                                  -- 11 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
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  1        present his own
  2        evidence during the
  3
           trial in the State Court
  4
           Action.
  5
        16. During the trial                                  Disputed. Misstates testimony
  6

  7                                                           of Debtor.

  8     17. At the conclusion of       Id                     Disputed that the judgment is
  9        the trial the jury                                 final.
 10
           awarded Kelli Peters
 11
           $365,000 for false
 12
           imprisonment, and
 13

 14        $800,000 for

 15        intentional infliction of

 16        emotional distress.
 17        The jury awarded
 18
           Sydnie Peters
 19
           $600,000 for
 20
           intentional infliction of
 21

 22        emotional distress.

 23        The jury awarded Bill

 24        Peters $365,000 for
 25
           intentional infliction of
 26
           emotional distress.
 27

 28
                                            -- 12 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
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  1     18. The jury found that       Id.                     Disputed that the judgment is
  2        Kent Easter engaged in                             final. Undisputed that the
  3
           the conduct with                                   Civil Judgment, which is on
  4
           malice, oppression or                              appeal, includes an award for
  5
           fraud. The jury                                    punitive damages in the
  6

  7        awarded Plaintiffs $1.5                            amount of $1.5 million against

  8        million in punitive                                Debtor.

  9        damages against Kent
 10
           Easter
 11
        19. Judgement on the          Id                      Disputed that the judgment is
 12
           verdict was entered on                             final.
 13
           February 29, 2016.
 14

 15        Kelli Peters received a

 16        judgment of $800,000
 17        against Kent Easter
 18
           and Jill Easter, jointly
 19
           and severally. Sydnie
 20
           Peters received a
 21

 22        judgment of $600,000

 23        against Kent Easter

 24        and Jill Easter, jointly
 25        and severally. Bill
 26
           Peters received a
 27

 28
                                            -- 13 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
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  1         judgment of $365,000
  2         against Kent Easter
  3
            and Jill Easter, jointly
  4
            and severally.
  5
        20. Plaintiffs jointly         Id.                           Disputed that the judgment is
  6

  7         received a judgment of                                   final.

  8         $1.5 million in                                          Disputed that the jury found

  9         punitive damages                                         each Plaintiff was entitled to
 10
            against Kent Easter.                                     punitive damages.
 11
        21. The judgment states        Id.                           Disputed that the judgment is
 12
            that Plaintiffs shall                                    final.
 13

 14         have and recover post-

 15         judgment interest of

 16         10% per annum from
 17         the date of entry of the
 18
            judgment until paid
 19

 20
          DEFENDANT’S ALLEGED ADDITIONAL MATERIAL FACTS IN DISPUTE
 21

 22

 23        DEFENDANT’S ALLEGED                       DEFENDANT’S SUPPORTING
           ADDITIONAL MATERIAL FACTS                 EVIDENCE
 24        IN DISPUTE
 25     1. Defendant Kent Easter did not intend to   Declaration of Kent Easter ¶ 4
           cause injury to Bill Peters.
 26
        2. Defendant Kent Easter did not intend to   Declaration of Kent Easter ¶ 4
 27        cause injury to Sydnie Peters.
 28
                                               -- 14 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
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  1      3. On August 12, 2016, the judgment in         Defendant’s Request for Judicial Notice, Ex. 1
            the State Court Action was appealed.
  2

  3      4. The punitive damage award in the            Plaintiffs’ Request for Judicial Notice, Ex. 2
            judgment was based on “malice,
  4         oppression or fraud” in the disjunctive.

  5      5. The Plaintiffs’ judgement is currently      Defendant’s Request for Judicial Notice, Ex. 2
            on appeal in the Fourth District Court
  6
            of Appeal, Division Three.
  7
         6. Defendant’s criminal conviction for         Defendant’s Request for Judicial Notice, Exs.
  8         false imprisonment did not determine        3 and 4.
            that Defendant specifically intended to
  9         cause injury to Kelli Peters because the
 10         jury was instructed that felony false
            imprisonment was a general intent
 11         crime and did not need a finding of
            specific intent.
 12

 13   Dated: October 20, 2016                      Respectfully submitted,

 14                                                GOE & FORSYTHE, LLP

 15                                                /s/ Robert P. Goe
 16                                                Robert P. Goe, Attorneys for Kent W. Easter

 17

 18

 19

 20

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 23

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 28
                                                   -- 15 --

       DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
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  1
                               PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  3   address is: 18101 Von Karman Avenue, Suite 1200, Irvine, CA 92612

  4   A true and correct copy of the foregoing document entitled (specify): DEFENDANT’S (1) RESPONSE TO
      PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS, AND (2) SEPARATE STATEMENT
  5   OF DISPUTED FACTS will be served or was served (a) on the judge in chambers in the form and manner
      required by LBR 5005-2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On (date) October 20, 2016, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  8   List to receive NEF transmission at the email addresses stated below:
  9          Weneta M Kosmala (TR) ecf.alert+Kosmala@titlexi.com,
              wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
 10          Robert H Marcereau , nlipowski@mncalaw.com
             United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
 11
                                                        Service information continued on attached page
 12
      2. SERVED BY UNITED STATES MAIL: On (date) October 20, 2016, I served the following persons
 13   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a
      true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid,
 14   and addressed as follows: Listing the judge here constitutes a declaration that mailing to the judge will be
      completed no later than 24 hours after the document is filed.
 15
      Kent W Easter
 16   153 Baywood Dr
      Newport Beach, CA 92660
 17
                                                        Service information continued on attached page
 18
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
 19   EMAIL: (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
      LBR, on (date) October 20, 2016, I served the following persons and/or entities by personal delivery,
 20   overnight mail service, or (for those who consented in writing to such service method), by facsimile
      transmission and/or email as follows: Listing the judge here constitutes a declaration that personal
      delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
 21   filed.
 22          The Honorable Erithe A. Smith, USBC, 411 West Fourth Street, Santa Ana, CA 92701
 23                                                     Service information continued on attached page
 24   I declare under penalty of perjury under the laws of the United States that the foregoing is true and
      correct.
 25
       October 20, 2016           Susan C. Stein                            /s/Susan C. Stein
 26    Date                     Printed Name                                Signature

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        DEFENDANT’S (1) RESPONSE TO PLAINTIFFS’ SEPARATE STATEMENT OF UNDISPUTED FACTS,
                          AND (2) SEPARATE STATEMENT OF DISPUTED FACTS
